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                                                                                              JUDGE TANA LIN


 1                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 2                                       SEATTLE DIVISION
 3      SECURITIES AND EXCHANGE COMMISSION,
 4                              Plaintiff,
        v.
 5                                                                  Civil Action No. 2:22-cv-1009
 6      ISHAN WAHI, NIKHIL WAHI, and SAMEER                         FINAL JUDGMENT AS TO
        RAMANI,                                                     DEFENDANT NIKHIL WAHI
 7
                                Defendants.
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10              The U.S. Securities and Exchange Commission (the “Commission”) having filed

11    a Complaint and Defendant Nikhil Wahi (“Defendant”) having entered a general

12    appearance; consented to the Court’s jurisdiction over Defendant and the subject matter

13    of this action; consented to entry of this Final Judgment; waived findings of fact and

14    conclusions of law; and waived any right to appeal from this Final Judgment.

15

16                                                  I.

17             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

18    permanently restrained and enjoined from violating, directly or indirectly, Section 10(b)

19    of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and

20    Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

21    instrumentality of interstate commerce, or of the mails, or of any facility of any national

22    securities exchange, in connection with the purchase or sale of any security:

23              (a)   to employ any device, scheme, or artifice to defraud;

24              (b)   to make any untrue statement of a material fact or to omit to state a

25                    material fact necessary in order to make the statements made, in the light

26                    of the circumstances under which they were made, not misleading; or


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     SEC v. Wahi, et al.                                                                           100 F Street NE
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                                                                                         Telephone: (202) 551-4737
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 1               (c)   to engage in any act, practice, or course of business which operates or

 2                     would operate as a fraud or deceit upon any person.

 3              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 4    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

 5    following who receive actual notice of this Final Judgment by personal service or

 6    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)

 7    other persons in active concert or participation with Defendant or with anyone described

 8    in (a).

 9

10                                                  II.

11              IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

12    Nikhil Wahi is liable for disgorgement of $228,165, representing ill-gotten gains as a

13    result of the conduct alleged in the Complaint, plus prejudgment interest of $10,723, for a

14    total of $238,888, which shall be deemed satisfied as to Defendant by the Judgment

15    entered against Defendant in United States v. Nikhil Wahi, No. 1:22-cr-392 (S.D.N.Y.) on

16    January 10, 2023 [ECF No. 68].

17

18                                                  III.

19              IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that the

20    Consent is incorporated herein with the same force and effect as if fully set forth herein,

21    and that Defendant shall comply with all of the undertakings and agreements set forth

22    therein.

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24                                                  IV.

25              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

26    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11


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 1    U.S.C. § 523, the allegations in the complaint are true and admitted by Defendant, and

 2    further, any debt for disgorgement, prejudgment interest, civil penalty or other amounts

 3    due by Defendant under this Final Judgment or any other judgment, order, consent order,

 4    decree or settlement agreement entered in connection with this proceeding, is a debt for

 5    the violation by Defendant of the federal securities laws or any regulation or order issued

 6    under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §

 7    523(a)(19).

 8

 9                                                 V.

10            IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that this

11    Court shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

12    Final Judgment.

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     SEC v. Wahi, et al.                                                                          100 F Street NE
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 1                                               VI.

 2            There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules

 3    of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and

 4    without further notice.

 5

 6            SO ORDERED.

 7

 8

 9                                                 ____________________________________
                                                   Tana Lin
10                                                 United States District Judge

11

12    Presented by:
13

14    /s/ Peter C. Lallas
      Daniel J. Maher
15
      Peter C. Lallas
16    SECURITIES AND EXCHANGE
      COMMISSION
17    100 F. Street NE
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19
      Email: maherd@sec.gov
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21    Attorneys for Plaintiff

22

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